Case 2:22-cv-07326-MCA-LDW           Document 393        Filed 12/18/24     Page 1 of 47 PageID:
                                          17898



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA,

         Plaintiff,
                                                              Civil Action No. 22-07326
         v.
                                                                      OPINION
  ALDEN LEEDS, INC., et al.,

         Defendants.


 ARLEO, UNITED STATES DISTRICT JUDGE

        Plaintiff United States of America (the “United States” or the “Government”) asks this

 Court to enter a Consent Decree (“CD”) resolving its claims under Sections 106, 107, and 113 of

 the Comprehensive Environmental Response, Compensation, and Liability Act of 1980, as

 amended (“CERCLA” or the “Act”), 42 U.S.C. §§ 9606, 9607, 9613, against 82 defendants

 (“Settling Defendants”) for their share of responsibility concerning two zones of the Diamond

 Alkali Superfund Site (“Site”): Operable Unit 2 (“OU2”) and Operable Unit 4 (“OU4”). For the

 following reasons, this Court grants the United States’ Motion to Enter the CD.

        I.     Background

        The Diamond Alkali facility, a chemical plant located at 80–120 Lister Avenue in Newark,

 New Jersey, manufactured chemicals such as Agent Orange, a byproduct of which is dioxin. In

 1983, the United States Environmental Protection Agency (“EPA”) and the State of New Jersey

 (“State”) sampled the former Diamond Alkali facility for dioxin in furtherance of EPA’s National

 Dioxin Strategy. ECF No. 288-5 (“Yeh Decl.”) ¶ 6. Finding high levels of the toxic substance

 both at and around the facility, EPA proposed the Site be added to the EPA Superfund Program’s




                                                 1
Case 2:22-cv-07326-MCA-LDW            Document 393        Filed 12/18/24      Page 2 of 47 PageID:
                                           17899



 National Priorities List. Id. The listing was finalized a year later. Id. In the meantime, the State

 issued an executive order to authorize emergency measures, including “securing the Lister Avenue

 property, covering the exposed soils to prevent migration, and addressing dioxins found on nearby

 properties.” Id. ¶ 7. The property was guarded for 24 hours a day. OU1 Record of Decision

 (“ROD”) at 13.1

        Further testing at the Diamond Alkali facility revealed that the dioxin—among other

 contaminants released from the facility—had migrated into the Lower Passaic River, which flows

 through “multiple communities with environmental justice concerns.” Yeh Decl. ¶ 6. As a result

 of the migration, the Site extends far beyond the boundaries of the former Diamond Alkali facility

 and is instead “defined by the areal extent of contamination.” ECF No. 288-7 (“Sivak Decl.”) ¶

 11. Currently, the Site consists of four different zones, or Operable Units. OU1 is the former

 Diamond Alkali facility itself, where the initial sampling was performed. Yeh. Decl. ¶ 6. OU2 is

 the lower 8.3 miles of the Lower Passaic River Study Area (“LPRSA”). Id. OU3 covers the

 Newark Bay Study Area. Id. And, finally, OU4 consists of the entirety of the LPRSA, which

 encompasses the “17-mile tidal reach of the Passaic River from Newark Bay to Dundee Dam, near

 Garfield, New Jersey, including the lower 8.3 miles of the river.” Id. As referenced above, the

 CD resolves Settling Defendants’ liability as to OU2 and OU4, OU2 being a part of the larger

 OU4. Accordingly, while the record demonstrates EPA has engaged in significant research and

 remediation efforts as to OU1 and OU3, see, e.g., id. ¶¶ 7, 8; Sivak Decl. ¶ 6 n.1, the remaining

 background will focus on EPA-led response actions concerning OU2 and OU4.




        1
            Available at https://semspub.epa.gov/work/02/83052.pdf.


                                                  2
Case 2:22-cv-07326-MCA-LDW           Document 393        Filed 12/18/24      Page 3 of 47 PageID:
                                          17900



        A. OU2

        EPA’s initial strategy was to “approach[] the full 17 miles of the LPRSA”—which

 encompasses both OU4 and OU2—“as a single study area,” and it entered into agreements with a

 subsection of potentially responsible parties (“PRPs”) to fund or perform a Remedial Investigation

 and Feasibility Study (“RI/FS”) of the LPRSA. Yeh Decl. ¶¶ 10–11. But information gathered

 during the Remedial Investigation indicated that the lower 8.3 miles of the river contained “the

 bulk of the contaminated sediment which is the source of most of the risk associated with the

 Lower Passaic River.” Id. ¶ 11. So, EPA shifted gears and undertook a targeted RI/FS of OU2

 while the RI/FS for the entire LPRSA was pending. Id. EPA found that, “largely due to sediment

 transport and mixing caused by the tidal nature of the Lower Passaic River,” a shocking 90% of

 contaminated sediments in the LPRSA were concentrated in its lower 8.3 miles. Id. And, because

 of the serious risk of contamination those sediments posed to the remainder of the LPRSA and

 Newark Bay, EPA elected to triage, moving forward with a final remedy for OU2 while, still, “the




                                                 3
Case 2:22-cv-07326-MCA-LDW           Document 393        Filed 12/18/24     Page 4 of 47 PageID:
                                          17901



 comprehensive study of the 17-mile LPRSA continued.” Id. ¶ 12.

        EPA issued the OU2 ROD in March 2016, setting forth its selected remedy to address the

 area’s severe contamination.2 Id. ¶ 16. The complete remedy is estimated to cost $1.38 billion

 and, among other things, prescribes the construction of an engineered cap to “cover the [river’s]

 bottom bank to bank.” Id. In the ROD, EPA identified, in addition to dioxin, several other

 dangerous substances in OU2 sediments and developed a list of eight contaminants of concern

 (“COCs”) that pose “the greatest potential risks to human health and the environment”:

 dioxans/furans, PCBs, DDT, polycyclic aromatic hydrocarbons, dieldrin, mercury, copper, and

 lead. Id. Of those COCs, dioxin is, “by an overwhelming margin,” the most toxic. Sivak Decl.

 ¶¶ 49–50.




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            The OU2 ROD is available at https://semspub.epa.gov/work/02/396055.pdf.


                                                4
Case 2:22-cv-07326-MCA-LDW            Document 393         Filed 12/18/24      Page 5 of 47 PageID:
                                           17902



        B. OU4

        In September 2021, in a second ROD, EPA selected an interim remedy for the upper 9

 miles of OU4. Yeh Decl. ¶¶ 10, 17. The interim remedy is estimated to cost $441 million, id. ¶

 17, and, aligned with EPA’s strategy to eliminate the most pressing threats first, will target dioxin

 and PCB “hot-spots” through dredging and capping to prevent further contamination of the

 LPRSA, ECF No. 288-6 (“Sharkey Decl.”) ¶¶ 13–14 (noting that dioxin and PCBs are the “primary

 . . . risk drivers” in the upper nine miles of the LPRSA); ECF No. 288-1 at 10. According to EPA,

 “the OU4 interim remedy is intended to complement the OU2 remedy,” Yeh Decl. ¶ 17, “resulting

 in cost efficiencies for parties conducting the remedial action,” minimizing “disruption to the river

 ecology and [to] the many communities along the river,” and “expedit[ing] recovery of the river,”

 Sharkey Decl. ¶¶ 15–16. While the Government acknowledges that “EPA may yet require a final

 remedial action for OU4,” ECF No. 337 at 25, EPA has included in the estimated cost of the OU4

 interim remedy “long-term monitoring that will lead to a final record of decision” for the entire

 LPRSA, Sharkey Decl. ¶ 19.

        C. EPA Works to Assess Liability for OU2

        Starting in the 1990s, EPA worked to identify facilities beyond Diamond Alkali that

 contributed to the Site’s contamination. Yeh Decl. ¶ 14. In March 2016, soon after it issued the

 OU2 ROD, EPA notified over 100 parties that they are PRPs for that particular zone. Id. ¶ 20.

 And while most of those parties had already received notice letters relating to the LPRSA more

 broadly, some were learning of their potential liability for the first time. Id. The letter specified

 that EPA “believe[d] that some of the parties that [were] identified as PRPs under CERCLA . . .

 may be eligible for a cash out settlement” for OU2. Yeh Decl., Ex. A at 4.




                                                  5
Case 2:22-cv-07326-MCA-LDW             Document 393         Filed 12/18/24      Page 6 of 47 PageID:
                                            17903



        Consistent with its letter, EPA pursued an early cashout settlement with fifteen parties who

 were not associated with any of the COCs identified in the OU2 ROD.3 Id. ¶ 25. As to the

 remaining noticed PRPs, who “had failed several times to perform an allocation [of responsibility

 for OU2’s contamination] themselves,” id. ¶ 26; id., Ex. B at 1, EPA decided to sponsor an

 allocation to “aid it in identifying parties that should perform and/or finance the OU2 cleanup”—

 the work parties—“and parties of responsibility so small in relation to the other PRPs that they

 should be eligible for a cashout,” id. ¶ 26.

                1. EPA Pursues an Allocation

        EPA had several goals for the allocation. First, it would be non-binding and voluntary, id.,

 though, PRPs that failed to participate would still be evaluated and considered for a settlement,

 id.; id. ¶ 44. Second, it would be streamlined to “catalyze settlements and the cleanup of the river.”

 Id. ¶ 29. Third, it would be structured so that “smaller PRPs with fewer resources [could]

 participate without undue burden alongside later PRPs,” and so that no party retained an advantage.

 Id.

        In March 2017, EPA wrote to the PRPs concerning the proposed allocation and explained

 that the PRPs would have a “future opportunity . . . to offer input on the factors that they think

 should be considered in the allocation process, and to provide feedback on the overall design of

 the allocation process.” Id., Ex. C at 2. Later that year, EPA hosted a meeting in New York City

 to solicit the PRPs’ views in this regard, and, while EPA had initially intended to limit participation

 in the allocation to PRPs who had not contributed dioxin or PCBs—OU2’s highest risk



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          EPA and the fifteen PRPs entered into the cashout settlement under CERCLA Section
 122(h), 42 U.S.C. § 9622(h), which was finalized in 2018. Yeh Decl. ¶ 25 & n.31. These parties
 paid EPA $4,209,000. Id. ¶ 25.


                                                   6
Case 2:22-cv-07326-MCA-LDW            Document 393        Filed 12/18/24     Page 7 of 47 PageID:
                                           17904



 contaminants—to the zone, EPA was there persuaded to extend the allocation to all private4 PRPs

 in furtherance of “transparency and fairness.” Id. ¶¶ 27–28.

        Among those parties invited to participate in the allocation was Intervenor Occidental

 Chemical Corporation (“OxyChem”).

                2. OxyChem Declines to Participate in the Allocation

        OxyChem has been adjudicated Diamond Alkali’s corporate successor and is liable for the

 facility’s contribution to the Site’s contamination. Occidental Chem. Corp. v. 21st Century Fox

 Am., No. 2:18-cv-11273 (D.N.J. Sept. 11, 2020), ECF No. 1105 at 4. OxyChem does not appear

 to dispute that the Diamond Alkali facility—now OU1 of the Site—has a storied history of

 egregious waste disposal practices. See generally Diamond Shamrock Chems. Co. v. Aetna Cas.

 & Sur. Co., 609 A.2d 440, 447–49 (N.J. Super. Ct. App. Div. 1992) (describing Diamond Alkali

 employees’ testimony that the company’s “waste disposal policy . . . amounted to ‘dumping

 everything’ into the Passaic River”). As a result of Diamond Alkali’s conduct, OxyChem has

 been—by necessity—involved with various response efforts at the Site.

        When EPA sent notice to PRPs, including OxyChem, concerning the OU2 ROD in 2016,

 EPA also announced its intention to ask OxyChem to perform the remedial design work for that

 zone. See Yeh Decl. ¶ 22; id., Ex. A at 4 (“EPA seeks to determine whether [OxyChem] will



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           Among the parties that received notice for potential OU2 liability were several
 municipalities, including Intervenor Passaic Valley Sewer Commission (“PVSC”). These public
 entities were “not invited to participate in the allocation[] and were not assigned shares of
 responsibility.” Yeh Decl. ¶ 33. Instead, EPA determined that the municipalities were best suited
 to “contribute in-kind services” rather than funding. Id. The allocation, however, incorporates an
 analysis of the PVSC wastewater system, as “it was relevant to the shares of many of the allocation
 parties.” Id.; see also ECF No. 289 at 7, 20–29 (Allocation Recommendation Report indicating
 consideration of PVSC in calculations).


                                                 7
Case 2:22-cv-07326-MCA-LDW            Document 393        Filed 12/18/24     Page 8 of 47 PageID:
                                           17905



 voluntarily perform the remedial design . . . for the remedy selected in the [OU2] ROD.”).

 OxyChem entered into an agreement to perform the work under EPA supervision.5 Id. ¶ 23. EPA

 separately “issued to [OxyChem] a unilateral administrative order for the remedial design of

 OU4,” with which OxyChem noticed its intent to comply.6 Id. And, as aforementioned, EPA also

 sought OxyChem’s participation in the allocation. Id. ¶ 27.

        OxyChem attended EPA’s inaugural OU2 allocation meeting in New York City, id., as well

 as a second meeting where PRPs met EPA’s chosen allocator, AlterEcho, and discussed the

 allocation process, id. ¶ 31. While 69 of the invited PRPs agreed to participate in the allocation,

 OxyChem and nine others declined. Id. ¶¶ 34, 44.

        EPA, determined to secure OxyChem’s participation, met with OxyChem approximately a

 week after the second meeting “to address some questions and concerns [OxyChem] had about the

 allocation and [to] underscore EPA’s view that allocation and negotiation—not litigation—is the

 best approach to resolving liability for OU2.” Id. ¶ 36. While it appears OxyChem took issue with

 several aspects of the allocation, see id., Ex. H; ECF No. 309-3, Ex. 27, OxyChem claims that the

 “key reason” it “objected to [AlterEcho’s] process” “was the lack of safeguards to prevent PRPs

 from selectively withholding (or misrepresenting) critical information about their own liability,”

 ECF No. 309 at 23. EPA followed up with a letter to OxyChem addressing this concern and others


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         OxyChem notes in its briefing that it “completed the [OU2 remedial] design on schedule”
 and “submitted the final design report for EPA review and approval.” ECF No. 309 at 6.
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           OxyChem contends that it “offered to implement EPA’s selected remedy in OU4” and
 later “reiterated its offer . . . along with a proposal for a sequence of agreements through which
 OxyChem would implement the OU2 remedy.” ECF No. 309 at 6–7. The United States disputes
 this characterization, stating that OxyChem’s offer, at least as to OU2, was “nebulous and
 conditional, including upon the cooperation of other unidentified parties.” ECF No. 288-1 at 15
 n.6; see also Yeh Decl. ¶ 24 (“No PRP, including [OxyChem], has made an offer to enter into a
 consent decree to perform the entirety of the OU2 and OU4 remedial actions.”).


                                                 8
Case 2:22-cv-07326-MCA-LDW            Document 393        Filed 12/18/24      Page 9 of 47 PageID:
                                           17906



 and explained that, by joining the allocation, OxyChem could help shape the information sharing

 process itself, and that EPA would “consider using its enforcement resources to supplement the

 information provided” by PRPs if “gaps in the information or data available to AlterEcho

 threaten[ed] to impede” the process. Yeh Decl., Ex. H at 3. EPA also assured that, if the allocation

 indicated that additional cashout settlements were warranted, it would “consider how to

 incorporate a suitable certification from the settling parties about the completeness of their

 disclosures.” Id.

        EPA’s attempts to persuade OxyChem ultimately failed despite repeated requests for the

 company’s participation, and despite EPA’s endeavors to “ke[ep] OxyChem informed of [its]

 efforts to address participants’ comments and concerns about the allocation framework.” Id. ¶ 37.

                3. The Allocation Proceeds

        “[S]till need[ing] a strategy for addressing the large number of PRPs it considered liable”

 for OU2, EPA moved forward with the allocation without OxyChem. Id. ¶ 38.

        AlterEcho’s allocation was multiphasic and collaborative. See id. ¶ 32 (describing the

 several phases of allocation planning, development, and execution). PRPs were invited to “provide

 input on the allocation methodology, the allocation process, and the database design.” Id. ¶ 35. In

 addition to shaping the process, PRPs submitted significant material for consideration during the

 process itself, including “factual documents . . . position briefs and responsive briefs, expert

 reports,” and exhibits thereto “addressing their responsibility and that of the other allocation

 parties” to AlterEcho. Id. ¶ 40. EPA, upon request, increased the quantity of documents that PRPs

 were permitted to submit to AlterEcho for review. Id. Participating PRPs were not the only source

 of data, however. EPA itself contributed approximately “130,000 pages of factual documentation



                                                  9
Case 2:22-cv-07326-MCA-LDW            Document 393         Filed 12/18/24     Page 10 of 47 PageID:
                                            17907



  about the noticed private parties” that it collected over the course of 40 years of investigation,

  including “factual material the State of New Jersey made publicly available following the

  settlement of its lawsuit concerning the Site,” and information that OxyChem submitted to EPA

  concerning “80% of the PRPs.”7 Id. ¶ 39.

         PRPs’ participation went beyond data submissions. PRPs were permitted to review their

  own and other PRPs’ Facility Data Reports to highlight any errors and omissions therein, as well

  as comment on the draft of the Allocation Recommendation Report—the final report that would

  summarize each PRP’s relative responsibility for contaminating OU2. Id. ¶ 40.

         Participating PRPs were required to certify to the completeness of the information they

  submitted, ECF No. 289-2 at 76–77, or risked alteration of their share of liability, id. at 68 (“The

  failure of a Participating Allocation Party to participate in compliance with the [rules of the

  allocation] may be considered by the Allocator as a factor in determining such party’s allocated

  share.”).   But where data was simply missing, AlterEcho “applied logical inferences and

  assumptions based on professional judgment” and in consultation with both participating PRPs

  and experts. Yeh Decl. ¶ 40. And, for the ten parties that declined to participate (including

  OxyChem), AlterEcho “assigned additional resources to the allocation team to perform




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           In its Responsiveness Summary (“RS”), ECF No. 288-4, EPA explains that some of the
  information it contributed to the allocation was previously voluntarily submitted to it by PRPs, or
  was drawn from “[r]esponses to EPA’s information requests issued under Section 104(e) of
  CERCLA[.]” RS 81.



                                                  10
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24       Page 11 of 47 PageID:
                                              17908



  independent reviews of allocation materials and calculations for their facilities to ensure that they

  were fairly evaluated in the allocation process.” Id.

          During the course of the allocation and based on information submitted to AlterEcho, EPA

  entered into a second cashout settlement with a group of six PRPs who demonstrated they had not

  contributed any COCs to OU2.8 Id. ¶ 46.

          Ultimately, the allocation assigned shares of responsibility for OU2 to 79 PRPs for a total

  of 92 facilities. Id. ¶ 44. To calculate a PRP’s share, AlterEcho considered the following factors:

  (1) “[h]ow much of each COC was discharged historically by each facility;” (2) “[h]ow much of

  each COC is still present in the river, and who is responsible for it;” (3) “[h]ow much responsibility

  does each allocation facility bear for each COC;” (4) “[h]ow much harm does each facility’s COCs

  pose to humans and the environment;” (5) “[w]as the allocation party cooperative” and how

  culpable are they; (6) “[d]id the allocation party have more than one facility;” (7) “[w]hat was each

  allocation party’s final share;” and (8) “[w]here did each allocation party fall with respect to the

  others.” Id. ¶ 45. Predicated on nearly 700,000 pages of supporting factual documentation, the

  final Allocation Recommendation Report (“Report”) was issued in December 2020. Id. ¶¶ 47, 62.

          The final report calculated PRPs’ relative shares of responsibility based on two distinct

  methods: the “Protocol Method” and the “Alternative Method.” The methods differed based on

  how the allocation team distributed the mass of COCs that were not attributed to one of the

  allocation parties, or, for purposes of this litigation, the “orphan shares.” Id. ¶ 45 b.ii. The Protocol

  Method “distributed the unattributed mass of all COCs among all allocation facilities on a pro rata



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           This group of PRPs, like those in 2018, see infra note 3, entered the cashout settlement
  under CERCLA Section 122(h), 42 U.S.C. ¶ 9622(h). Yeh Decl. ¶ 46 & n.55. The settlement was
  finalized in April 2021, and the parties paid EPA $1,964,200. Id. ¶ 46.


                                                     11
Case 2:22-cv-07326-MCA-LDW            Document 393         Filed 12/18/24     Page 12 of 47 PageID:
                                            17909



  basis, based on each facility’s total relative responsibility for all COCs, regardless of which COCs

  that facility discharged to the river.” Id. ¶ 45 b.ii.1. The Alternative Method focused on the COCs

  for which a particular facility was responsible, and “distributed the unattributed mass of COCs on

  a COC-by-COC basis.” Id. ¶ 45 b.ii.2. For example, a facility that did not contribute dioxin would

  not be distributed any of that COCs unattributed mass.

         The Report, in addition to calculating each PRP’s share of responsibility, endeavored to

  place PRPs in five allocation “tiers” based on relative responsibility. Id. ¶ 48. Intervenor

  OxyChem was placed—alone—into Tier 1. Tier 2 includes two other Intervenors in this suit,

  Nokia and Pharmacia. The remaining PRPs, with the exception of five PRPs who were assigned

  no tier or share for lack of a “nexus” between their facilities and the contamination, were placed

  in Tiers 3–5. Id.

         D. The Consent Decree

         In furtherance of EPA’s initial objective, see id., Ex. A, Ex. C, the Government reviewed

  the Report to determine which PRPs were best suited to perform or finance the remedial action,

  and which PRPs were best suited for a cashout settlement. The Government selected PRPs from

  Tiers 3, 4, and 5 to participate because they, “individually and collectively, are responsible for a

  minor share of the response costs incurred and to be incurred at or in connection with the cleanup

  of OU2.” Id. ¶ 54.

         Rather than just resolve the selected PRPs’ liability as to OU2, the Government extended

  the settlement to cover OU4. It reached this conclusion for several reasons, including that the

  “allocation considered releases of contaminants to the [entire LPRSA], not just [OU2],” id. ¶ 55,

  releases of “COC-contaminated sediments are . . . commingled and deposited throughout [the



                                                  12
Case 2:22-cv-07326-MCA-LDW            Document 393         Filed 12/18/24     Page 13 of 47 PageID:
                                            17910



  entire LPRSA]” as a result of “tidal action and other forces,” id. ¶ 13, and “the OU4 interim remedy

  is intended to complement the OU2 remedy,” id. ¶ 55. See also Responsiveness Summary (“RS”)

  at 84–88 (explaining decision to extend settlement to OU4); ECF No. 288-9 (declaration of Allen

  Medine explaining contaminant migration throughout the LPRSA). Accordingly, the Government

  included in CD negotiations the subgroups of PRPs with which it already settled as to OU2, see

  infra notes 3 & 8, so that they could also resolve their liability for OU4, Yeh Decl. ¶¶ 55, 57; see

  also ECF No. 283 ¶ 6.

         The negotiations between the Government and the Settling Defendants spanned eighteen

  months and utilized the Report as a starting point to facilitate agreement. Yeh Decl. ¶ 57.

                 1. The Settlement Starts with the Report

         While the Report served as the foundation for negotiations, the final agreement reflected

  several adjustments to the Report’s non-binding recommendations. Id.

         As an initial matter, the Government opted to use the Alternative Method of calculating

  shares, which, as set forth above, distributed the non-attributed COCs on a COC-by-COC basis.




                                                  13
Case 2:22-cv-07326-MCA-LDW             Document 393       Filed 12/18/24      Page 14 of 47 PageID:
                                             17911



  Id. ¶ 57.a. This change resulted in a lower allocation share for OxyChem but an increase in

  responsibility for the other tiers of PRPs. Id.




         Id. ¶ 57.a (screenshot of chart included in Yeh Decl.).

         Next, deeming it “subjective,” the Government removed the cooperation and culpability

  factor from the calculations, which, again, resulted in an increase in liability for other PRPs but

  not for OxyChem. Id. ¶ 57.b.




         Id. ¶ 57.c (screenshot of chart included in Yeh Decl.).

         The Government then added a 100% “premium” to the estimated OU2 and OU4 remedial

  design and remedial action costs—but not EPAs past costs—to “account for the fact that the

  remedies for OU2 and OU4 have not yet been implemented and [for] the possibility of cost




                                                    14
Case 2:22-cv-07326-MCA-LDW            Document 393          Filed 12/18/24    Page 15 of 47 PageID:
                                            17912



  overruns.” Id. ¶ 57.d. Said differently, the Settling Defendants agreed to pay twice their share of

  remedial action costs to provide a cushion for contingencies.

         Finally, the Government included in the settlement amount an additional payment of over

  five million dollars from Settling Defendants “in exchange for completion of an already existing

  administrative order on consent.” Id. ¶ 57.e.

         All considered, the Settling Defendants agreed to pay $150,000,000 to resolve their liability

  for OU2 and OU4 to the United States.9




         Id. (screenshot of chart included in Yeh Decl.).

         As just “one part of a larger enforcement effort,” this settlement, memorialized in the CD,

  recovers approximately 8% of estimated past and future costs for OU2 and OU4. Id. ¶¶ 60–61.

  And, when combined with significant monies recovered from other settlements and bankruptcy

  proceedings, the CD brings the Government’s recovery to approximately 14%. See id. ¶¶ 61, 64.



         9
            Notably, the chart’s calculations reflect an earlier, higher cost estimate for the OU4
  interim remedy—$460 million as opposed to $441 million—meaning that Settling Defendants
  presumably contributed, with the premium, an approximated additional $1.4 million to the total
  pool of funds for the Site. See Sharkey Decl. ¶ 24.


                                                  15
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24     Page 16 of 47 PageID:
                                             17913



  Funds from the CD, like those recovered from other EPA enforcement efforts to date, id. ¶ 64, will

  be “retained and used to conduct or finance response actions at or in connection to the Site,” ECF

  No. 283 ¶ 8; Yeh Decl. ¶ 65 (“The availability of settlement funds will allow EPA to pay for cleanup

  work at the Site . . . .”).

                   2. The United States Seeks Approval of the CD

          In December 2022, the Government lodged the CD with this Court, ECF No. 2, and

  solicited public comment for a period of 90 days, ECF No. 288-3, Spohn Decl. ¶ 2 (citing 87 Fed.

  Reg. 78710-11, 88 Fed. Reg. 2133). The Government received 53 comments, including several

  from OxyChem. OxyChem’s comments totaled “777 pages, with more than 24,000 pages of

  supporting exhibits.” Id. ¶ 13. After considering each comment in consultation with experts over

  the course of a year, the Government determined that changes to the CD were in order, including

  the removal of certain parties from the CD, see ECF No. 285, and an addition of a “cost-reopener”

  provision (“Reopener”) that permits the United States to pursue additional enforcement action

  against Settling Defendants if costs for OU2 and OU4 remedial action exceed a predetermined

  amount, ECF No. 283 ¶ 15.f.

          The modified Consent Decree was filed on the docket in January 2024, ECF No. 283, along

  with a detailed Responsiveness Summary, ECF No. 288-4, wherein the Government provided a

  response to each comment received and explained the changes to the CD.

                   3. Relevant Provisions of the CD

          The CD states that the “objective of the [United States and Settling Defendants] in entering

  into this Consent Decree is for Settling Defendants to make a cash payment to resolve their alleged

  civil liability under Sections 106 and 107 of CERCLA for OU2 and OU4.” ECF No. 283 ¶ 6. And,



                                                  16
Case 2:22-cv-07326-MCA-LDW               Document 393        Filed 12/18/24      Page 17 of 47 PageID:
                                               17914



  consistent with EPA’s early communications concerning a potential cashout settlement, see Yeh

  Decl., Ex. A at 4 (noting that a cashout settlement “[t]ypically” includes “a covenant not to sue”

  and “protection from contribution claims”), the CD contains several protections for Settling

  Defendants.

          First, the CD contains a Covenant Not to Sue (“Covenant”), which states that the “United

  States covenants not to sue or to take administrative action against Settling Defendants [for the

  facilities covered by the CD] under Sections 106 and 107(a) of CERCLA regarding OU2 and

  OU4.” ECF No. 283 ¶ 13. The Covenant takes effect when this Court’s approval of the CD is

  recorded on the docket (the “Effective Date”), id. ¶ 5, but is “conditioned on satisfactory

  performance by Settling Defendants of the requirements” of the CD, as well as the “veracity and

  completeness of the information provided to EPA and/or AlterEcho by each Settling Defendant”

  relating to the covered facilities, id. ¶ 14.

          The CD also contains a provision for contribution protection (“Contribution Provision”)

  under Section 113 of CERCLA, and states that “each Settling Defendant has, as of the Effective

  Date, resolved liability to the United States within the meaning of Sections 113(f)(2) and

  113(f)(3)(B) of CERCLA for OU2 and OU4” and is therefore “entitled, as of the Effective Date,

  to protection from contribution actions or claims as provided by Section 113(f)(2) of CERCLA . .

  . for the ‘matters addressed’” in the CD. Id. ¶ 23. “Matters addressed” include “all response

  actions taken or to be taken and all response costs incurred and to be incurred, at or in connection

  with OU2 and OU4, by the United States or any other person, except for the State, provided,

  however, that if the United States exercise[s]” any of its general reservations of rights, “the ‘matters




                                                    17
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24       Page 18 of 47 PageID:
                                              17915



  addressed in th[e CD] will no longer include those response costs or response actions that are

  within the scope of the exercised reservation.” Id.

          These general reservations apply beyond just the Contribution Provision and include any

  or all Settling Defendants’ (1) “liability for failure to meet a requirement of th[e CD];” (2) “liability

  arising from a Settling Defendant’s past, present, or future disposal, release, or threat of release of

  Waste Material outside of OU2 and OU4 (including such Waste Material that migrated through

  OU2 and OU4);” (3) “liability based on a Settling Defendant’s ownership or operation of a

  facility(ies)” not covered in the CD; (4) “liability based on a Settling Defendant’s operation of a

  [covered] facility(ies) associated with it . . . when such an operation commences after such Settling

  Defendant’s signature to th[e CD];” (5) “liability based on a Settling Defendant’s transportation,

  treatment, storage, or disposal of Waste Material at or in connection with the Site, after signature

  of th[e CD] by such Settling Defendant;” (6) “liability for performance of response actions or for

  the reimbursement of response costs if and to the extent the total combined response costs paid by

  EPA and/or any other person in connection with the remedial actions for OU2 (after September 30,

  2016) and OU4 (after March 2, 2023) exceed $3.68 billion, as determined by EPA based on its

  review of appropriate documentation;” (7) “liability for damages for injury to, destruction of, or




                                                     18
Case 2:22-cv-07326-MCA-LDW            Document 393         Filed 12/18/24      Page 19 of 47 PageID:
                                            17916



  loss of natural resources, and for the costs of any natural resource damage assessments;” and (8)

  “criminal liability.” Id. ¶ 15.

          Accordingly, while the CD provides significant protections to Settling Defendants, those

  protections are not unlimited, and the Government retains authority to pursue Settling Defendants

  for additional funds or response action if any of the several reservations are invoked.

          II.     Discussion

          Having filed the CD with this Court, ECF No. 283, the Government now moves for judicial

  approval of the agreement. The Government submitted a detailed memorandum with declarations

  and exhibits in support of its motion. See generally ECF Nos. 288–292. Settling Defendants have

  filed an omnibus brief in support of the CD, see ECF No. 310, as has Intervenor Passaic Valley

  Sewer Commission, ECF No. 338.10 OxyChem, on the other hand, has intervened in opposition

  to approval of the CD, ECF No. 309, while two other PRPs, Nokia and Pharmacia, appear to

  primarily bemoan the Government’s failure to settle with them on different terms, see ECF No.

  307; ECF No. 308.11 This Court is persuaded that the CD is fair, reasonable, and furthers

  CERCLA’s objectives and therefore approves it in full.

          A. CERCLA’s Legal Framework

          “CERCLA provides a complex statutory scheme for the cleanup of the nation’s hazardous

  waste sites.” United States v. Occidental Chem. Corp., 200 F.3d 143, 147 (3d Cir. 1999). And

  while the Act provides EPA “several alternative strategies for achieving the statute’s objective,”


          10
              Sherwin-Williams has intervened to respond to OxyChem’s discussion of the company
  in its briefing. ECF 339.
          11
            Nokia and Pharmacia’s arguments will be discussed separately from OxyChem’s, see
  infra Section II.C.


                                                  19
Case 2:22-cv-07326-MCA-LDW            Document 393         Filed 12/18/24     Page 20 of 47 PageID:
                                            17917



  id., each ensures that the parties actually “responsible for problems caused by the disposal of

  chemical poisons bear the costs and responsibility for remedying the harmful conditions they

  created,” FMC Corp. v. Dept. of Com., 29 F.3d 833, 843 (3d Cir. 1994) (quotation marks omitted).

  Given its remedial purpose, CERCLA “should be construed liberally to effectuate its goals.” Id.

  at 840 (quoting United States v. Alcan Aluminum Corp., 964 F.2d 252, 258 (3d Cir. 1992)).

                 1. CERCLA Provides EPA with Multiple Tools to Effectuate its Purpose

         For example, if EPA determines there exists an “imminent and substantial endangerment

  to public health or welfare,” Section 106 of CERCLA permits the agency to order PRPs to

  undertake remedial action “either by obtaining injunctive relief in a District Court or by issuing

  such administrative orders ‘as may be necessary to protect public health and welfare and the

  environment.’” Occidental Chem. Corp., 200 F.3d at 147 (quoting 42 U.S.C. § 9606(a)). Section

  107, on the other hand, permits EPA to recover response costs “incurred” by the United States, 42

  U.S.C. § 9607(a); see FMC Corp., 29 F.3d at 835, and to seek a declaratory judgment as to PRPs’

  “liability for response costs or damages that will be binding on any subsequent action or actions

  to recover further response costs or damages,” id. § 9613(g)(2); see also Santa Clarita Valley Water

  Agency v. Whittaker Corp., 99 F.4th 458, 483 (9th Cir. 2024) (explaining how § 9607 and

  § 9613(g)(2) work together).

         But litigation and administrative orders are not the only means of enforcement available to

  EPA. The agency can also settle with PRPs to resolve their liability under the aforementioned

  Sections. See 42 U.S.C. § 9622(a) (providing affirmative grant of settlement authority under

  CERCLA to the President of the United States); Executive Order No. 12580 § 4(d)(1), reprinted

  in 42 U.S.C. § 9615 (delegating President’s authority under § 9622 to EPA Administrator). The

  Attorney General, too, retains authority to enter settlements resolving CERCLA litigation. 28


                                                  20
Case 2:22-cv-07326-MCA-LDW               Document 393          Filed 12/18/24       Page 21 of 47 PageID:
                                               17918



  U.S.C. § 516 (“Except as otherwise authorized by law, the conduct of litigation in which the United

  States [or] an agency . . . is a party, or is interested . . . is reserved to officers of the Department of

  Justice, under the direction of the Attorney General.”); Executive Order No. 12580 § 6, reprinted

  in 42 U.S.C. § 9615 (“The conduct and control of all litigation arising under [CERCLA] shall be

  the responsibility of the Attorney General.”). Cf. United States v. Hercules, Inc., 961 F.2d 796,

  798–800 (8th Cir. 1992) (holding that CERCLA Section 122 does not “clearly and unambiguously

  limit[] the Attorney General’s inherent authority [under 28 U.S.C. § 516] . . . to make settlements

  of [cost recovery] litigation involving the United States”).

                  2. Our Review of the Consent Decree is Deferential

          The Court begins its review of consent decrees with a healthy dose of “deference to the

  [agency’s] input during . . . negotiations and the law’s policy of encouraging settlement.” In re

  Tutu Water Wells CERCLA Litig., 326 F.3d 201, 207 (3d Cir. 2003). While the Court “should not

  mechanically rubberstamp the agency’s suggestions, neither should [it] approach the merits of the

  contemplated settlement de novo.” United States v. Cannons Eng’g Corp., 899 F.2d 79, 84 (1st

  Cir. 1990). Accordingly, this Court’s approval is not conditioned on “whether the settlement is

  one which the court itself might have fashioned, or [even] considers as ideal, but whether the

  proposed decree is fair, reasonable, and consistent with CERCLA’s goals.” Id.

          With regard to fairness, this Court must “assess both procedural and substantive

  considerations.” In re Tutu, 326 F.3d at 207. Procedural fairness focuses on the “negotiation

  process,” and requires a close look at its “candor, openness and bargaining balance.” Id. (quoting

  Cannons Eng’g Corp., 899 F.2d at 86). Substantive fairness, on the other hand, “requires that the

  terms of the consent decree are based on ‘comparative fault’ and apportion liability ‘according to

  rational estimates of the harm each party has caused.’” Id. (quoting United States v. SEPTA, 235


                                                      21
Case 2:22-cv-07326-MCA-LDW            Document 393        Filed 12/18/24      Page 22 of 47 PageID:
                                            17919



  F.3d 817, 823 (3d Cir. 2000)). Permitting that the underlying “measure of comparative fault on

  which the settlement terms are based”—here, the Report as adjusted by the Government during

  settlement negotiations—“is not arbitrary, capricious, and devoid of a rational basis” the Court

  should uphold it, regardless of whether it “would have employed the same method of

  apportionment.” Id. (quoting SEPTA, 235 F.3d at 824). Indeed, the Government’s method need

  not even be “the best, or even the fairest, of all conceivable methods . . . particularly when the

  PRPs involved are numerous and the situation is complex.” Cannons, 899 F.2d at 88. The Court

  should instead “defer to the Government’s expertise in weighing ambiguous and conflicting

  evidence of substantive fairness.” United States v. George A. Whiting Paper Co., 644 F.3d 368,

  373–74 (7th Cir. 2011).

         As to reasonableness, a CD meets the mark when it, among other things, advances cleanup

  efforts, adequately compensates the public for actual and anticipated cleanup costs, and reflects a

  judicious use of Government resources, accounting for the costs and benefits of expedited

  settlement versus protracted litigation. See, e.g., Cannons, 899 F.2d at 90; United States v. Rohm

  & Haas Co., 721 F. Supp. 666, 680 (D.N.J. 1989) (similar). The “reasonableness inquiry, like that

  of fairness, is a pragmatic one, not requiring precise calculation.” United States v. Kramer, 19 F.

  Supp. 2d 273, 286–87 (D.N.J. 1998) (quoting United States v. Charter Int’l Oil Co., 83 F.3d 510,

  521 (1st Cir. 1996)). Similarly, a CD furthers CERCLA’s statutory purpose when it aligns with

  “the [Act’s] overarching principles: accountability, the desirability of an unsullied environment,

  and promptness of response activities.” Cannons, 899 F.2d at 91; see also Kramer, 19 F. Supp. 2d

  at 289 (“The mandate of CERCLA is to remedy releases of hazardous substances into the human

  environment by imposing the burdens of remediation and of future risks upon parties liable for

  causing the harm, consistent with due process.”); B.F. Goodrich v. Betkoski, 99 F.3d 505, 514 (2d



                                                  22
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 23 of 47 PageID:
                                             17920



  Cir. 1996) (CERCLA’s purposes “include facilitating efficient responses to environmental harm,

  holding responsible parties liable for the costs of the cleanup, and encouraging settlements that

  reduce the inefficient expenditure of funds on lengthy litigation.” (citations omitted)), overruled

  on other grounds by New York v. Nat’l Servs. Indus., Inc., 352 F.3d 682 (2d Cir. 2003).

         B. The Instant Consent Decree

         With the aforementioned principles in mind, the Court turns to whether the instant consent

  decree complies with the law. Despite OxyChem’s numerous arguments to the contrary, this Court

  concludes that it does.

                 1. The Consent Decree is Procedurally Sound

         Courts look favorably on settlements that are the product of “sophisticated players, with

  sharply conflicting interests” who have “hammered out an agreement at arm’s length and [now]

  advocate its embodiment in a judicial decree.” In re Tutu, 326 F.3d at 208–09 (quoting Cannons,

  899 F.2d at 84). That is precisely the type of agreement produced here. Dozens of PRPs—

  sophisticated, resourced, and represented by counsel—negotiated over the course of several years,

  first as a part of the AlterEcho allocation, and then with EPA as part of settlement discussions that

  resulted in the instant CD. The record indicates those negotiations were both candid and open.

  See id. at 207. PRPs participating in the allocation were not only invited to join in the allocation

  itself but were encouraged to shape the methodology, the process, and how information was stored.

  Yeh Decl. ¶ 35. They were also permitted to submit data, expert reports, and briefs to address the

  liability of themselves and other PRPs, as well as to comment on the draft Allocation

  Recommendation Report. Id. ¶¶ 35–40. EPA, too, submitted over one-hundred thousand pages of

  documentation obtained from EPA-driven information requests, investigation, enforcement



                                                   23
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24       Page 24 of 47 PageID:
                                              17921



  efforts, and State proceedings. Id. ¶ 39. Some of this information was from OxyChem itself, id.,

  despite its failure to participate in the allocation. Settlement negotiations following the allocation

  spanned approximately eighteen months, id. ¶ 57, and were, by all indications, similarly held at

  arms’ length. And, even after the Government and Settling Defendants at long last came to an

  agreement, see ECF No. 2, the Government further solicited public comments on the CD for 90

  days, Spohn Decl. ¶ 2, revised the decree based on feedback received in the comments, gained

  Settling Defendants’ approval of the revised CD, and then refiled it with this Court, ECF No. 283.

          Despite these robust procedures, OxyChem raises numerous arguments to suggest the CD

  is procedurally infirm. See ECF No. 309 at 13–26. The Court will address them in turn.

                          a. The Settling Defendants Have Not Conspired against OxyChem

          OxyChem argues that the very allocation framework AlterEcho developed to ensure robust

  participation and deliberation between participating PRPs incentivized those parties to omit

  information and conspire against OxyChem, who declined to participate. ECF No. 309 at 23–25.

  But OxyChem’s criticisms are unfounded. It blinks reality to suggest that participating PRPs,

  sophisticated corporations represented by competent counsel, would lack incentives to minimize

  their liability in relation to one another, by, for example, ensuring that their adversaries submitted

  all relevant information and by challenging its accuracy. To the contrary, PRPs were notified from

  the outset that the allocation’s objective was to identify parties eligible to cash out early, see, e.g.,

  Yeh Decl., Ex. C, and any reasonable participant would endeavor to reduce its comparative liability

  so as to qualify. Indeed, several parties succeeded: EPA settled with parties during the allocation,

  id. ¶ 46, and the allocation assigned “zero shares of responsibility” to five parties “because




                                                     24
Case 2:22-cv-07326-MCA-LDW            Document 393        Filed 12/18/24      Page 25 of 47 PageID:
                                            17922



  AlterEcho did not find a nexus between the parties’ facilities and COCs in the river sediments,”

  id. ¶ 48.

          Beyond incentives arising from the adversarial process, participating PRPs were also

  required to certify the accuracy and completeness of the information they submitted, ECF No. 289-

  2 at 68, 76–77, a condition that is embodied in the CD itself, see ECF No. 283 ¶ 27 (“Each Settling

  Defendant certifies individually that . . . it conducted a thorough, good faith search and provided

  information to AlterEcho consistent with the Allocation Guide that is part of the Final Allocation

  Recommendation Report, and certified to that effect consistent with the Allocation Guide.”); ¶ 14

  (“[T]he covenant [not to sue] . . . is conditioned on . . . the veracity and completeness of the

  information provided to EPA and/or AlterEcho by each Settling Defendant . . . .”). So, contrary to

  OxyChem’s assertions that there are “no meaningful consequences for non-compliance” with

  AlterEcho’s certification requirement, ECF No. 309 at 23 n.49, the consequences would be severe

  for Settling Defendants.12

          In short, OxyChem’s arguments are unpersuasive, especially considering that OxyChem

  was invited to participate in the allocation and could have challenged many of these alleged

  insufficiencies in real time. Instead, OxyChem refused its seat at the table and waited until the




          12
            OxyChem points to the fact that three parties, Sherwin-Williams, Kearny Smelting, and
  Conopco, Inc., were removed from the CD after public comment—allegedly for failure to submit
  relevant information—as evidence that the allocation process “was woefully inadequate to ensure
  disclosure of all relevant facts,” rendering it “fundamentally unfair.” ECF 309 No. at 24–25.
  Sherwin-Williams vehemently opposes OxyChem’s allegations and characterization of the record.
  See generally ECF No. 339. Regardless of whether OxyChem’s characterization is accurate, this
  Court remains persuaded of the sufficiency of the procedural safeguards in place, as evidenced by
  the Government’s removal of these parties from the CD. There is no indication that the
  Government would be unwilling to remove additional Settling Defendants from the CD if it is later
  discovered that a PRP has breached its obligations under the agreement.



                                                  25
Case 2:22-cv-07326-MCA-LDW               Document 393         Filed 12/18/24       Page 26 of 47 PageID:
                                               17923



  allocation concluded to claim it was treated unfairly. Assuming, arguendo, that OxyChem was

  prejudiced by failing to participate in the allocation, that is a risk it may have reasonably assumed.

  Cf. In re Tutu, 326 F.3d at 206 (reasoning that parties who decline to participate in alternative

  dispute resolution ought to bear risk of increased liability).13

                          b. Any Alleged Conflict of Interest Does Not Undermine the CD

          OxyChem next claims that AlterEcho had an impermissible conflict of interest because its

  lead allocator, David Batson, formerly worked as an EPA attorney and, in 2016, was allegedly

  appointed to serve as an “expert witness” against OxyChem in a legal proceeding. ECF No. 309

  at 21–23; ECF No. 292-2; ECF No. 343. The Government disclosed this purported conflict of

  interest on the docket, ECF No. 292; ECF No. 342, together with information concerning Batson’s

  former EPA employment and his ongoing work as a consultant with AlterEcho for Passaic River

  cleanup efforts, ECF No. 292-3. The Government also included Batson’s “Statements of Work,”




          13
              For reasons similar to those discussed in the foregoing section, this Court denies
  OxyChem’s request for discovery of “any and all editing comments” the Settling Defendants
  submitted to AlterEcho concerning the Report “to discern how much of the [R]eport was based on
  Batson’s work, rather than the work of self-interested PRPs,” ECF No. 343-3 at 21, as well as its
  request for an “outreach report” that catalogs participating PRPs’ “outreach efforts, a description
  of topics discussed, and a summary of issues or concerns raised,” id. (quoting ECF No. 309-1 at
  307), so that this Court can “discern whether a true allocation occurred” or whether the Settling
  Defendants “authored” the Report, id. This Court will not countenance OxyChem’s continued
  attempts to cast the allocation’s procedural safeguards as procedural flaws, absent even a modicum
  of credible evidence that Settling Defendants held the drafting pen or exerted inappropriate
  influence on AlterEcho. To do so would unnecessarily burden the parties without any “likely
  benefit.” Fed. R. Civ. P. 26(b)(1); Wisniewski v. Johns-Manville Corp., 812 F.2d 81, 90 (3d Cir.
  1987) (“The conduct of discovery is a matter for the discretion of the district court.”). Cf.
  Democratic Nat’l Comm. v. Republican Nat’l Comm., No. 18-1215, 2019 WL 117555, at *3 (3d
  Cir. Jan. 7, 2019) (concluding that the district court acted within its discretion in denying requests
  for discovery supported by “no evidence” in the record); Plastipak Packaging, Inc. v. DePasquale,
  363 F. App’x 188, 192 (3d Cir. 2010) (“[Plaintiff’s] proposal to depose [Defendants] in hopes that
  it will find a legal theory . . . bears all the hallmarks of a fishing expedition, particularly given that
  there is no evidence” to support Plaintiff’s request).


                                                     26
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 27 of 47 PageID:
                                             17924



  id.—normally privileged documents—and an email exchange between the Director of the Ethics

  Office of the Office of General Counsel for EPA and an Investigator with the EPA Office of

  Inspector General, discussing the allegations, analyzing the purported conflicts, and concluding

  that there were none, ECF No. 292-4. Having carefully reviewed all relevant materials, this Court

  declines to strike down the CD on this basis. Despite OxyChem’s arguments to the contrary, the

  record demonstrates that Batson did not actually serve as an “expert witness” against OxyChem

  but was retained by the Department of Justice for preliminary work in relation to the allocation.

  See ECF No. 292-3. Further, as OxyChem acknowledges, whether Batson has, in fact, violated

  any criminal ethics prohibitions is not a question before this Court, ECF No. 309 at 22, and

  OxyChem’s bare assertions that Batson “had prior ties to several settling PRPs,” ECF No. 335 at

  6; ECF No. 309 at 22 n.47, do not move the needle,14 see Barna v. Bd. of Sch. Dirs., 877 F.3d 136,

  145–46 (3d Cir. 2017) (holding that “ill-developed arguments” supported by “passing and




         14
             Styled as a request for discovery, ECF No. 343-3, OxyChem adds more color to its
  otherwise cursory assertions that Batson was unfit to serve as allocator due to his prior work with
  PRPs, including some Settling Defendants, in 2004, see id. at 11–16. Seeing that OxyChem raised
  this identical concern in its comments to EPA, see ECF No. 288-11 at 89–90, it is not apparent
  why it functionally omitted this argument from its merits briefing. Nonetheless, this Court finds
  OxyChem’s further-developed claims unavailing. OxyChem’s reliance on cherry-picked phrases
  from Batson’s testimony in an unrelated matter and language from Batson’s resume, both
  describing his former work as a neutral, do not evidence a conflict of interest in this Court’s view.

         OxyChem also newly elaborates that “it is not disputed that Batson received confidential
  mediation information” from OxyChem and its indemnitors, who were also members of the 2004
  PRP group, which “should have barred Batson from later assigning and allocating liability ‘to
  OxyChem.’” ECF No. 343-3 at 14. But the letter OxyChem cites to in support of that notion
  makes no mention of Batson, referencing instead another mediator, “Mr. William Hengemihle of
  FTI Consulting, Inc., who was retained through counsel on behalf of [the 2004 PRP group].” ECF
  No. 343-3, Ex. 5 at 2. And OxyChem, besides disagreeing with the Report’s non-binding
  recommendations, fails to otherwise explain how the information it may have provided to Batson
  twenty years ago concerning a distinct phase of work at the Site has rendered the CD before this
  Court unfair or unreasonable.



                                                   27
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 28 of 47 PageID:
                                             17925



  conclusory statements” are properly deemed forfeited (cleaned up)), nor does OxyChem’s gripe

  with AlterEcho’s choice to assign it an unfavorable cooperation and culpability score in the

  allocation, see ECF No. 335 at 6–10. As to the latter, the Government removed cooperation and

  culpability as a factor in calculating Settling Defendants’ liability for the CD, to OxyChem’s

  benefit. If AlterEcho’s assignment of that score was evidence of some conflict of interest, that

  conflict is now moot.15

                         c. The Proposed Settlement Satisfies Section 122

         Finally, OxyChem argues that the CD, and the allocation underlying it, failed to comply

  with procedural requirements under Section 122 of CERCLA, 42 U.S.C. § 9622, particularly


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             This Court will not grant OxyChem’s request for discovery into Batson’s purported
  conflicts of interest and bias. See ECF No. 343 at 2–3. While OxyChem conspicuously omitted
  any mention of Batson’s conflicts in its communications to EPA expressing concerns about the
  allocation before it began, see ECF No. 309-3, Ex. 27, OxyChem has thoroughly fleshed out its
  post-hoc allegations in its comments, briefing, record submissions, and other court filings. The
  Government has responded in kind. OxyChem also does not dispute that its counsel has already
  filed over twenty FOIA requests with EPA and DOJ concerning the CD and AlterEcho allocation,
  see ECF No. 348, to which the Government has likewise replied, see ECF No. 309-1, Ex. 1.
  Dissatisfied with the Government’s responses, and unhappy with the Report’s non-binding
  recommendations, OxyChem explores new methods to challenge the CD. But to allow further
  proceedings would burden the parties with little “likely benefit,” Fed. R. Civ. P. 26(b)(1),
  particularly considering the volume of information about Batson already exchanged in this matter
  and the fact that OxyChem has not presented colorable evidence of a conflict, as is required to
  open discovery in comparable ADR contexts, cf. Lucent Techs. Inc. v. Tatung Co., 379 F.3d 24, 32
  (2d Cir. 2004) (refusing to permit post-arbitration award discovery without “clear evidence of
  impropriety” on behalf of the arbitrator (citation omitted)); NGC Network Asia, LLC v. PAC Pacific
  Grp. Int’l, Inc., 511 F. App’x 86, 89 (2d Cir. 2013) (“Post-award discovery regarding an arbitrator’s
  alleged bias is appropriate in limited situations where ‘clear evidence of impropriety’ has been
  presented.” (quotation marks omitted)); Lyeth v. Chrysler Corp., 929 F.2d 891, 899 (2d Cir. 1991)
  (concluding that the district court did not abuse its discretion in denying request for discovery
  concerning arbitrator’s bias where there was “no evidence” that the arbitrator “had any financial
  or personal stake in the outcome” and the request was simply “an attempt to determine if there is
  some basis . . . to prosecute a claim of bias” (citation omitted)); Merit Ins. Co. v. Leatherby Ins.
  Co., 714 F.2d 673, 683 (7th Cir. 1983) (“We do not want to encourage the losing party to every
  arbitration to conduct a background investigation of each of the arbitrators in an effort to uncover
  evidence” of bias, for doing so would “increase the cost and undermine the finality” of the ADR


                                                   28
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24      Page 29 of 47 PageID:
                                              17926



  § 122(e)(3) (describing procedures for non-binding preliminary allocations of responsibility, or

  “NBAR”s) and (f) (discussing limitations on covenants not to sue), which requires us to strike

  down the CD as “procedurally invalid.” ECF No. 309 at 12, 14–21. In response, the Government,

  relying primarily on an Eighth Circuit case, United States v. Hercules, Inc., 961 F.2d 796 (8th Cir.

  1992), argues that § 122 does not apply to this CD because the provision regulates settlement-types

  not at issue here and does not otherwise restrict the Attorney General’s inherent authority to resolve

  claims on behalf of the United States. ECF No. 288-1 at 41; ECF No. 337 at 14 (listing settlements

  covered in § 122 and stating that the section “does not limit the Attorney General’s plenary

  authority to enter into other types of settlements”).

         In Hercules, the Eighth Circuit addressed a claim similar to the one before this Court. 961

  F.2d 796 (8th Cir. 1992). There, the United States entered into a settlement with PRPs to recover

  cleanup costs, thereby resolving the PRPs’ liability under Section 107(a) of CERCLA, 42 U.S.C.

  § 9607(a). Id. at 798. Hercules argued that the United States’ proposed settlement with PRPs

  “d[id] not comply with the requirements contained in CERCLA § 122[(a)-(f)]” and that § 122

  “limits the authority of the United States, acting through the Attorney General, to settle cases.” Id.

  The Court disagreed, concluding that different provisions of § 122 applied to different settlement




  proceeding, “contrary to the purpose of the United States Arbitration Act”); In re Equimed Inc.,
  No. 05-1815, 2006 WL 1865011, at *6 (E.D. Pa. June 30, 2006) (“Federal courts have been
  understandably hesitant to grant extensive discovery in cases alleging arbitrator bias. In pursuing
  such an action a disgruntled . . . party can effect prolonged litigation and defeat the very purpose
  of contracting for arbitration in the first place.”). This Court will not frustrate Congress’s intent of
  encouraging CERCLA settlements to “expedite effective remedial actions and minimize
  litigation,” 42 U.S.C. § 9622(a), by permitting OxyChem, who refused to represent its own
  interests in the allocation, to continue to impede settlement. Cannons, 899 F.2d at 93–94
  (acknowledging that permitting unnecessary proceedings when reviewing a CERCLA settlement
  undermines the benefits of settlement); In re Cuyahoga Equip. Corp., 980 F.2d 110, 119 (2d Cir.
  1992) (“Congress sought through CERCLA to . . . encourage settlements that would reduce the
  inefficient expenditure of public funds on lengthy litigation.”).


                                                    29
Case 2:22-cv-07326-MCA-LDW              Document 393           Filed 12/18/24   Page 30 of 47 PageID:
                                              17927



  types and that because the procedural strictures of § 122(a)–(f) “do not apply to a cost-recovery

  settlement, those provisions cannot be said to contain any clear and unambiguous limitation on the

  Attorney General’s plenary ability to enter into settlements of cost recovery litigation.” Id. at 799;

  see also id. at 800 (“CERCLA § 122 does not limit the Attorney General’s 28 U.S.C. § 516 based

  statutory authority to settle cost recovery litigation.”).

          Underpinning the Court’s holding was its broader discussion of the “exclusive authority

  and plenary power” vested in the Attorney General “to control the conduct of litigation in which

  the United States is involved”—authority that “includes the power to enter into consent decrees

  and settlements,” id. at 798 (citing Swift & Co. v. United States, 276 U.S. 311, 331–32 (1928)),

  and “is not diminished without a clear and unambiguous directive from Congress,” id. (citing

  United States v. California, 332 U.S. 19, 27 (1947)). Section 122, “an affirmative grant of

  settlement authority” to the President, id. at 800; see 42 U.S.C. § 9622(a), as delegated to the

  agencies, see, e.g., Exec. Order No. 12580 § 4(b)(1), did not “clearly and unambiguously limit the

  Attorney General’s plenary authority over the control and conduct of litigation in which the United

  States is a party,”16 id. at 799.

          While this Court recognizes that CERCLA § 122 is not the picture of clarity, see, e.g.,

  Cranbury Brick Yard, LLC v. United States, 943 F.3d 701, 704 (3d Cir. 2019) (noting that


          16
              The breadth of Hercules’ holding as to the Attorney General’s inherent authority is
  somewhat unclear. While the Eighth Circuit’s analysis focuses primarily on whether specific
  subsections of § 122 “can[] be said to contain any clear and unambiguous limitation on the
  Attorney General’s” authority to enter into cost recovery settlements, 961 F.2d at 799–800, the
  Court states early on and without reservation that “CERCLA § 122 does not clearly and
  unambiguously limit the Attorney General’s plenary authority over the control and conduct of
  litigation in which the United States is a party,” id. at 799. Accordingly, Hercules is fairly read to
  hold that § 122—as a whole—does not restrict the Attorney General’s settlement authority. Cf.
  United States v. Pesses, No. 90-654, 1994 WL 741277, at *12 (W.D. Pa. Nov. 7, 1994) (interpreting
  Hercules to “establish[] that the provisions of § 122 are not an express limitation on the Attorney


                                                     30
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 31 of 47 PageID:
                                             17928



  CERCLA, more generally, “is notorious for its . . . poor draftsmanship” (quotation marks omitted)),

  it finds the Eighth Circuit’s analysis of the provision generally persuasive, particularly as to its

  structure. This Court, however, need not further discuss the interpretive curiosities of the § 122,

  the scope of the Attorney General’s settlement authority, or whether the CD at bar is in fact covered

  by § 122, because this Court is satisfied that the CD does not violate the portions of the statute at

  issue, § 122(e)(3) and § 122(f).

         Section 122(e)(3)(A) states that the “President may, after completion of the remedial

  investigation and feasibility study, provide a nonbinding preliminary allocation of responsibility

  [“NBAR”] which allocates percentages of the total cost of response among [PRPs] at the facility.”

  Relevant here, an NBAR “shall not be admissible as evidence in any proceeding,” id. §

  9622(e)(3)(C), and the “costs incurred by the President in producing the [NBAR] shall be

  reimbursed by the [PRPs],” id. § 9622(e)(3)(D).

         OxyChem, relying primarily on its own say-so, claims that the AlterEcho allocation was

  an NBAR and that the Government violated the aforementioned procedures where AlterEcho—

  not EPA—prepared the NBAR, the allocation was submitted as evidence for this Court’s review,

  and PRPs did not reimburse EPA for the costs of the allocation. ECF No. 309 at 14–15. But what

  OxyChem casts as procedural infirmities are better viewed as indicia that the allocation was not,

  in fact, an NBAR. As the Government, ECF No. 288-1 at 41–42; ECF No. 337 at 7–10; RS 11,

  the Settling Defendants, ECF No. 340 at 30–34, and even Nokia, ECF No. 366, explain, the

  allocation here differed in many ways from the standard NBAR procedures. Among other



  General’s authority to compromise CERCLA claims in general”). This distinction does not alter
  the Court’s analysis because, for reasons discussed below, the CD comports with § 122, and the
  Government does not take the position that the Attorney General can wholly disregard § 122’s
  procedures. See ECF 337 No. at 14, 18.


                                                   31
Case 2:22-cv-07326-MCA-LDW               Document 393         Filed 12/18/24       Page 32 of 47 PageID:
                                               17929



  differences, the allocation was performed by a third-party neutral, not EPA, cf. § 9622(e)(3)(A)

  (“The President may . . . provide a[n NBAR]”); 52 Fed. Reg. 19919–20 (May 28, 1987) (“NBAR

  Guidance”) (“[A]n NBAR is an allocation by EPA . . . .”),17 and began after EPA completed the

  RI/FS and issued an ROD for OU2, cf. NBAR Guidance (“Should EPA decide to prepare an

  NBAR, it will normally be prepared during the [RI/FS] and provided to PRPs as soon as

  practicable, but not later than completion of the RI/FS for the site.”). Further, § 122 in no way

  restricts EPA’s discretion to utilize alternative methods to apportion responsibility among PRPs.

  To the contrary, § 122(e)(3)(A) merely states that the President “may” provide an NBAR, not that

  he or she is required to. Cf. NBAR Guidance (emphasizing that “whether to prepare an NBAR . .

  . is a decision within EPA’s discretion”). Accordingly, because the AlterEcho allocation was not

  an NBAR, it did not need to abide by the strictures of § 122(e)(3).18

          OxyChem also contends that the CD violates § 122(f) on two different grounds. ECF No.

  309 at 15. Section 122(f) sets forth procedures for covenants not to sue contained in CDs, and, in

  relevant part, states that “[t]he President may, in his discretion, provide any person with a covenant

  not to sue concerning any liability to the United States, including future liability, . . . if . . . [t]he

  covenant not to sue is in the public interest” and “would expedite response action consistent with

  the National Contingency Plan.” Id. § 9622(f)(1)(A)–(B). It also states that “[a] covenant not to

  sue concerning future liability to the United States shall not take effect until the President certifies




          17
               Available at https://www.epa.gov/sites/default/files/2013-10/documents/non-bind-fr.pdf.
          18
            OxyChem rehashes its argument that the AlterEcho Report is an NBAR and, therefore,
  cannot be relied upon in this proceeding in what it styles as a motion in limine. ECF No. 343-1 at
  12–15. Finding OxyChem’s NBAR-related arguments no more persuasive in that filing, the Court
  denies that portion of OxyChem’s Motion.


                                                     32
Case 2:22-cv-07326-MCA-LDW             Document 393         Filed 12/18/24      Page 33 of 47 PageID:
                                             17930



  that remedial action has been completed in accordance with the requirements of this chapter at the

  facility that is the subject of such covenant.” Id. § 9622(f)(3).

         But the CD complies with § 122(f)(1) because, as discussed infra, see Section II.B.3, the

  CD is both in the public interest and expedites response action. And, keeping in mind this Court’s

  directive to “construe[] [CERCLA] liberally” in furtherance of the Act’s purposes, Alcan, 964 F.2d

  at 258—purposes which “include facilitating efficient responses to environmental harm, holding

  responsible parties liable for the costs of the cleanup, and encouraging settlements that reduce the

  inefficient expenditure of public funds on lengthy litigation, Betkoski, 99 F.3d at 514 (citations

  omitted)—the Court is also satisfied that the CD does no violence to § 122(f)(3). While the

  Covenant’s Effective Date is technically before the President will have certified that remedial

  action is complete for OU2 and OU4—indeed, “EPA may yet require a final remedial action for

  OU4,” ECF No. 337 at 25—the CD contains several reservations of rights to the United States to

  ensure that “defendants meet their legal obligations under the decree and do not leave the cleanup

  unfinished.” Cf. United States v. Akzo Coatings of Am., Inc., 949 F.2d 1409, 1450–53 (6th Cir.

  1991) (CD with covenant not to sue that took effect before all remedial action was completed did

  not violate § 122(f)(3) where the CD furthered congressional intent and the public interest,

  contained several reservations of rights to the United States, and where EPA would “continue to

  clean up the Site using funds provided by the settling defendants”).

         Here, the Covenant is “conditioned on the satisfactory performance by Settling Defendants

  of the requirements” of the CD, as well as the “veracity and completeness of the information

  provided to EPA and/or AlterEcho by each Settling Defendant.” ECF No. 283 ¶ 14. It is also

  subject to several reservations of rights, id. ¶ 15, most importantly, a Reopener provision that holds

  Settling Defendants liable for additional response actions or reimbursement should cleanup costs


                                                   33
Case 2:22-cv-07326-MCA-LDW             Document 393         Filed 12/18/24       Page 34 of 47 PageID:
                                             17931



  for OU2 and OU4 exceed a predetermined amount, double the estimate for the OU2 final and OU4

  interim remedies, id. ¶ 15(f). It follows that, despite the Covenant’s Effective Date, Settling

  Defendants will not be “off the hook” for future liability19 until, at the earliest, both the OU2 and

  OU4 remedies have been completed and EPA has a complete accounting of response costs.20

         Accordingly, regardless of whether the CD is in fact required to comply with § 122, this

  Court determines that it does not conflict with the provisions of the statute that OxyChem raises.

                 2. The CD Is Substantively Fair

         To satisfy the substantive fairness requirement, the CD’s terms must be based on the

  “comparative fault” of the parties, the measure of which is acceptable so long as it is not “arbitrary,



         19
            The Court’s reasoning on this matter is limited to § 122(f) and the Covenant, and does
  not extend to whether the Settling Defendants, for the distinguishable purpose of contribution
  protection, have “resolved [their] liability to the United States.” 42 U.S.C. § 9613(f)(2).
         20
             There remains the question of who will cover the gap should the OU2 and OU4 remedies
  exceed the expected costs without crossing the $3.68 billion threshold permitting the United States
  to initiate further action against Settling Defendants. See ECF No. 283 ¶ 15(f). But Settling
  Defendants have committed to pay significantly more than their estimated share of liability toward
  cleanup efforts (including paying for a higher-than-currently-estimated cost of the OU4 interim
  remedy, see supra note 6, and paying a 100% premium), which, assuming that EPA’s estimates are
  reliable, SEPTA, 235 F.3d at 825 (noting that courts are not “in a position to second guess” EPA’s
  cost estimates that are based on “standard methodologies”), provides EPA with meaningful
  protection for unexpected cost-overruns, and, ideally, funds to complete any remaining cleanup
  for OU4 after implementation of the interim remedy. Cf. United States v. Charter Int’l Oil Co., 83
  F.3d 510, 522 n.17 (1st Cir. 1996) (acknowledging that payment of a premium helps to mitigate
  “the risks the government bears out of the uncertainty of the total cost of the remedy”). And the
  CD, of course, does not preclude EPA from initiating enforcement actions against other PRPs not
  party to the CD. Indeed, EPA has indicated this CD is just “one part of a larger enforcement effort
  that includes . . . identifying and pursuing [additional] PRPs for the payment or performance of
  the cleanup.” Yeh Decl. ¶ 60; see also id. ¶¶ 64–65 (indicating that EPA has already recovered
  millions of dollars for cleanup from Site-related enforcement efforts and bankruptcy proceedings).
  The bottom line is that the Covenant does not leave EPA in the lurch; in addition to the enforcement
  efforts it has already undertaken, the agency has ample other tools at its disposal to recover funds
  from PRPs to complete remedial action at both OU2 and OU4, and a Covenant already limited by
  so many protective reservations should not hinder a settlement that otherwise effectuates


                                                    34
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 35 of 47 PageID:
                                             17932



  capricious, and devoid of a rational basis.” In re Tutu, 326 F.3d at 207 (quotation marks omitted).

  Despite the litany of arguments OxyChem raises in opposition, see ECF No. 309 at 27–44, this

  Court concludes the CD is substantively fair.

         OxyChem spills ample ink challenging highly technical aspects of the allocation, largely

  rehashing arguments it previously raised in its comments. For example, OxyChem claims that (1)

  the allocation underestimated several PRPs’ contributions to the contamination of the LPRSA,21

  id. at 29–31; (2) AlterEcho’s choice to allocate responsibility based, in part, on each COC’s risk to

  human health and the environment is irrational, id. at 32–33; (3) AlterEcho’s relative risk

  calculations “ignore the sizable, independent risk posed by dioxin-like PCBs,” id. at 33–37; (4)

  the allocation suffered from various “mathematical and scientific errors,” including a unit

  conversion mistake that impacted the quantity of dioxin attributable to OxyChem and the

  utilization of an “attenuation factor” that impermissibly decreased other PRPs’ liability, id. at 38–

  39; and (5) AlterEcho “drew inconsistent inferences” from the data to the detriment of OxyChem,

  id. at 39–40.

         But the Government has adequately and coherently addressed these arguments in its

  Responsiveness Summary, briefing, and declarations, cf. Fed. Commc’ns Comm’n v. Prometheus

  Radio Project, 592 U.S. 414, 423 (2021) (explaining that traditional arbitrary-and-capricious

  review under the APA is “deferential” and noting that “[a] court simply ensures that the agency

  has acted within a zone of reasonableness and, in particular, has reasonably considered the relevant




  CERCLA’s remedial purpose and furthers the public interest. See Alcan, 964 F.2d at 258; Akzo
  Coatings, 949 F.2d at 1452.

          These PRPs responded to OxyChem’s arguments and characterization of the allocation.
         21

  See ECF No. 340-8.


                                                   35
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24     Page 36 of 47 PageID:
                                             17933



  issues and reasonably explained the decision”), and this Court is otherwise “poorly suited to

  evaluate the merits of conflicting [scientific] positions,” George A. Whiting Paper Co., 644 F.3d

  at 373–74. We decline to conduct a trial on the merits and instead “defer to the Governments’

  expertise in weighing ambiguous and conflicting evidence of substantive fairness,” id. at 374, as

  CERCLA contemplates, United States v. IMC E. Corp., 627 F. Supp. 3d 166, 175 n.3 (E.D.N.Y

  2022) (explaining that entertaining a “battle of experts is precisely the type of probing judicial

  inquiry CERCLA was designed to avoid”); United States v. Davis, 11 F. Supp. 2d 183, 191–92

  (D.R.I. 1998) (“[T]he evidence need not be exhaustive or conclusive in order to determine whether

  a proposed settlement is substantively fair. . . . Such a requirement would be impractical and would

  frustrate CERCLA’s objective of encouraging early settlement . . . .”); cf. Akzo Coatings, 949 F.2d

  at 1424 (stating that “federal courts have neither the time nor the expertise” to “engag[e] in a de

  novo review of the scientific evidence”). And, again, OxyChem could have raised these concerns

  with AlterEcho itself, but it declined to do so.

         Further, this Court’s review is not limited to the allocation, but also includes adjustments

  the Government made to the allocation’s results for the purposes of settlement. OxyChem

  concedes that the Government altered some of what OxyChem considers to be “the most

  egregiously flawed aspects of [AlterEcho’s allocation].” ECF No. 309 at 41. Even accepting that

  the Government’s adjustments, however, did not remedy all of the allocation’s alleged flaws, id. at

  41–42, “rational (if necessarily imprecise) estimates of how much harm each PRP has done”

  suffice under CERCLA, and “[w]hatever formula or scheme EPA advances for measuring

  comparative fault and allocating liability should be upheld so long as the agency supplies a

  plausible explanation for it, welding some reasonable linkage between the factors it includes in its

  formula or scheme and the proportionate shares of the settling PRPs,” Cannons, 899 F.2d at 87;



                                                     36
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24       Page 37 of 47 PageID:
                                              17934



  see also IMC E. Corp., 627 F. Supp. 3d at 174 (“[M]athematical precision” in apportioning liability

  is not required under CERCLA).            Here, the Government has provided such “plausible

  explanation[s],” Cannons, 899 F.2d at 87, for the strategic and highly complex choices AlterEcho

  made during the allocation and the Government’s adjustments to it, including, for example, the

  Government’s well-considered choice to extend the CD to OU4.

          Only two other of OxyChem’s arguments bear mention. First, OxyChem asserts that the

  CD is substantively unfair because it is “impossible” for this Court to determine whether the CD

  reflects a rational estimate of the harm each Settling Defendant has caused where the CD discloses

  “only the total amount that the settling parties all together will pay” as part of the joint-and-several-

  liability scheme embodied in the CD. ECF No. 309 at 27–28. But, as the Government correctly

  notes, see ECF No. 337 at 26 n.26, it is not unusual for CD’s to disclose only the aggregate

  settlement amount to be paid by a class of PRPs, see, e.g., United States v. Davis, 261 F.3d 1, 25

  (1st Cir. 2001) (“[A] consent decree need not specify each [PRP’s] degree of culpability. It is

  appropriate for classes of PRPs to be assigned aggregate settlement amounts to allocate among

  themselves.”); United States v. Kramer, 19 F. Supp. 2d 273, 282–83 (D.N.J. 1998) (same and

  collecting cases),22 and, in any event, this Court can discern from the record approximately how

  much each Settling Defendant may expect to pay under the CD based on “estimates of the harm

  each party has caused,” SEPTA, 235 F.3d at 823. See, e.g., ECF No. 309-16 (OxyChem’s table

  listing each Settling Defendant’s relative share of culpability using EPA’s adjusted calculations);



          22
             OxyChem, ignoring relevant precedent in this jurisdiction and mischaracterizing other
  authorities, see D.N.J. Loc. R. App’x R at R5 (Lawyers “will not knowingly misrepresent [or] mis-
  characterize . . . authorities in any . . . written communication to the court”), asks this Court to
  grant its proposed request for “[d]isclosure of the amount being paid by each settling party,” ECF
  No. 343-3 at 18–19. This information is irrelevant to the Court’s limited inquiry, so OxyChem’s
  request is denied.


                                                     37
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 38 of 47 PageID:
                                             17935



  ECF No. 337-1 (Tables listing each Settling Defendants’ share under Protocol and Alternative

  method calculations).23

         Second, OxyChem argues that the CD’s provision offering Settling Defendants protection

  from non-settlors’ contribution claims is “unfair,” contrary to law, and even amounts to an

  unconstitutional taking. ECF No. 309 at 43–44. OxyChem’s arguments are foreclosed by ample

  judicial precedent, see, e.g., SEPTA, 235 F.3d at 822–23 (affirming District Court’s determination

  that settlors were protected from non-settlors contribution claims); Cannons, 899 F.2d at 92

  (“Congress plainly intended to non-settlors to have no contribution rights against settlors regarding

  matters addressed in settlement.”); Davis, 261 F.3d at 28 (“As to the extinguished contribution

  claims of non-settlors or later round settlors, protection against those claims was a reasonable

  benefit the settlor acquired in exchange before settling before those others.” (cleaned up)); United

  States v. BP Amoco Oil PLC, 277 F.3d 1012, 1017–18 (8th Cir. 2002) (concluding that contribution

  protection did not constitute an unconstitutional taking), the cases OxyChem’s cites in support are

  readily distinguishable, and this Court otherwise declines to invalidate the CD on constitutional

  grounds where OxyChem fails to meaningfully discuss the Government’s cited authority, cf. Davis,




         23
             In this vein, OxyChem contends that the fact the settlement amount remained the same
  after three parties were removed underscores the fact that the settlement “is not based on rational
  estimates of the actual harm each settling party caused.” ECF No. 309 at 28. But early settlement
  comes with a price, and Settling Defendants, understandably, were willing to pay more in exchange
  for the protections outlined in the CD. See ECF No. 340 at 27–28 ([T]he maintenance of the
  settlement amount despite the removal of three parties was due to Settling Defendants’ reluctant
  willingness to account for the difference to minimize further negotiations and avoid litigation.”).
  This does not change each party’s relative responsibility, nor does it undermine the substantive
  fairness of the settlement. Cf. Cannons, 899 F.2d at 88 (recognizing that the benefits associated
  with early settlement, among other considerations, may appropriately factor into the settlement
  figure).


                                                   38
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 39 of 47 PageID:
                                             17936



  261 F.3d at 28 (declining to consider underdeveloped takings argument in relation to contribution

  protection).

         Accordingly, this Court finds the CD substantively fair.

                 3. The CD is Reasonable and Furthers CERCLA’s Goals

         In addition to being fair, a CD resolving CERCLA liability must be reasonable and further

  the Act’s goals. This CD satisfies both requirements. It is reasonable because it extracts $150

  million from Settling Parties—a sum significantly more than their estimated liability for the

  decided upon remedial action—that will be immediately available for cleanup efforts. See City of

  New York v. Exxon Corp., 697 F. Supp. 677, 693 (S.D.N.Y. 1988) (describing payment to be used

  for cleanup efforts as an “immediate public benefit”). It also contains ample reservations of rights

  to ensure the public is “satisfactorily compensate[d] . . . for the actual (and anticipated) costs of

  remedial and response measures.” Cannons, 899 F.2d at 90. Further, the settlement, by resolving

  82 PRPs’ liability without protracted litigation, preserves the Government’s enforcement resources

  and clears the way for EPA to focus on cleanup and more culpable offenders. Cf. Kramer, 19 F.

  Supp. 2d at 289 (“By simplifying the remaining litigation . . . the public and the parties benefit

  from the ‘saving of time and money that results from the voluntary settlement of litigation.

  Likewise, the savings of governmental litigation resources of experienced counsel and staff may

  now instead be devoted to other pressing cases where litigation is necessary.” (citation and

  quotation marks omitted)).

         For many of the same reasons, the CD furthers CERCLA’s goals. See id. at 289; Betkoski,

  99 F.3d at 514. Though it does not recoup all costs for remediation of OU2 and OU4, it holds

  Settling Defendants accountable for more than their fair share of liability and serves as an



                                                   39
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24      Page 40 of 47 PageID:
                                              17937



  important step in EPA’s full sequence of enforcement actions.24 See, e.g., RS 1 (stating that “the

  $150 million payment in the proposed Decree is not the first and will not be the last or final

  payment by responsible parties for cleanup of the Passaic River” and explaining that the allocation

  was “sponsored as part of [EPAs] overall enforcement strategy for the Site”); RS 2 (noting that

  parties not included in the settlement “are not escaping liability. EPA expects to pursue more

  settlements, litigation, or issue orders to ensure that remaining PRPs pay their share or perform

  cleanup work.”); Yeh Decl. ¶ 60 (same).

                 4. Other Arguments Raised in OxyChem’s Self-Styled Motion in Limine

         In addition to those arguments already addressed above, OxyChem, in what seems to be an

  attempt to both circumvent this Court’s page limit restrictions and to preserve arguments it failed

  to include in its merits briefing, raises several additional reasons for why this Court “cannot

  approve the proposed settlement,” ECF No. 343 at 2, in what it styles as a motion in limine, ECF

  No. 343-1.25 See ECF Nos. 309 at 19 (raising CERCLA § 122(e)(3) as a basis to disregard the

  Report but omitting any meaningful discussion of EPA’s purported violations of the Alternative


         24
             OxyChem also argues that by extinguishing OxyChem’s contribution claims against
  Settling Defendants, the CD disincentivizes PRPs from undertaking voluntary cleanup, thus,
  contravening CERCLA’s goals. ECF No. 309 at 46–47. This claim is merely an extension of
  OxyChem’s earlier-addressed contribution arguments. See, e.g., Section II.B.2. While
  encouraging voluntary cleanups may further CERCLA’s policies, see Comm’r of Dep’t of Plan. &
  Nat. Res. v. Century Alumina Co., 2005/062, 2007/114, 2008 WL 4693550, at *1 (D.V.I. Oct. 22,
  2008), CERCLA also undisputedly encourages early settlement and the protections that come
  therewith, like contribution protection. Cannons, 899 F.2d at 91–92. As a result of that protection,
  PRPs who fail to resolve their liability early “risk [] bearing a disproportionate amount of liability.”
  Id. at 91. But “that is not to say that the device is forbidden. To the exact contrary, Congress has
  made its will explicit and the courts must defer.” Id. This Court abides by CERCLA’s directive.
         25
            OxyChem also filed a second motion in limine asking this Court to exclude as untimely
  six expert declarations filed with the Settling Parties’ responsive briefing. See ECF No. 343-2. As
  the Court was able to resolve this dispute without reference to or reliance on those declarations,
  OxyChem’s motion is moot.


                                                    40
Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 41 of 47 PageID:
                                             17938



  Dispute Resolution (“ADR”) Act as a separate basis to disregard it), 335 at 4 (same). As an initial

  matter, the Court notes that “a motion in limine is designed to narrow the evidentiary issues for

  trial and to eliminate unnecessary trial interruptions,” Bradley v. Pittsburgh Bd. of Educ., 913 F.2d

  1064, 1069 (3d Cir. 1990) (emphasis added), not to refine or rehash substantive claims, see, e.g.,

  Laskowski v. Dep’t of Veteran Affs., No. 3:10-cv-600, 2011 WL 5040953, at *4 (M.D. Pa. Oct. 24,

  2011); Festa v. Flowers, No. 17-5327, 2022 WL 2235864, at *3 (D.N.J. June 22, 2022), raised

  during the course of a summary proceeding. The Court, however, will address OxyChem’s

  arguments in furtherance of judicial economy. They lack merit.

         OxyChem primarily contends that we “cannot approve the proposed settlement,” ECF No.

  343 at 2, because EPA violated the ADR Act “[s]everal [t]imes [over],” ECF No. 343-1 at 18.

  These alleged violations, according to OxyChem, also prohibit the Court from considering the

  Report. Id. at 18–25.

         First, OxyChem asserts that § 572(a) of the ADR Act only permits an agency to use a

  dispute resolution proceeding26 “if the parties agree to such proceeding.” ECF No. 343-1 at 19

  (quoting 5 U.S.C. § 572(a)). And “[w]ithout the consent of or voluntary participation by

  OxyChem,” “that process and its results violate the ADR Act.” Id. But OxyChem was not a party

  to the AlterEcho proceeding,27 so EPA did not need its consent. And OxyChem points to no


         26
            A “dispute resolution proceeding” under the ADR Act “means any process in which an
  alternative means of dispute resolution is used to resolve an issue in controversy in which a neutral
  is appointed and specified parties participate.” 5 U.S.C. § 571(6).
         27
            A “party” under the ADR act means “for a proceeding with named parties, the same as
  in section 551(3) of this title[,] and for a proceeding without named parties, a person who will be
  significantly affected by the decision in the proceeding and who participates in the proceeding.” 5
  U.S.C. § 571(10). 5 U.S.C. § 551(3), in turn, defines party as “a person or agency named or
  admitted as a party, or properly seeking and entitled as of right to be admitted as a party, in an
  agency proceeding, and a person or agency admitted by an agency as a party for limited purposes.”


                                                   41
Case 2:22-cv-07326-MCA-LDW               Document 393          Filed 12/18/24        Page 42 of 47 PageID:
                                               17939



  authority indicating that a holdout becomes a “party” under the ADR Act simply because the

  proceeding implicates the holdout’s interests.           To the contrary, the ADR Act specifically

  contemplates, and permits, ADR proceedings that “affect[] persons or organizations who are not

  parties to the proceedings,” even “significantly” so. Id. § 572(b)(4).

          Second, OxyChem argues that § 574 of the ADR Act “bars any use” of the Report, a

  “dispute resolution communication,”28 because OxyChem “never consented to it.”29 ECF No. 343-

  1 at 23–24. But § 574’s prohibition only protects parties and nonparty participants.30 OxyChem

  is neither.31 See ECF No 343-3 at 25 (describing EPA as a nonparty participant).

          Third, OxyChem claims that Batson was not a “neutral” under the ADR Act—another

  reason why “EPA violated” the law and why the “Report cannot be used for any purpose.” ECF


           A “dispute resolution communication” is defined as “any oral or written communication
          28

  prepared for the purposes of a dispute resolution proceeding, including any memoranda, notes or
  work product of the neutral, parties or nonparty participant.” 5 U.S.C. § 571(5).
          29
             OxyChem also claims that David Batson is purportedly “subject to a preexisting
  confidentiality agreement—governed by the ADR Act—related to his earlier work on [a 2004
  Diamond Alkali Superfund Site allocation].” ECF No. 343-1 at 23–24. And “OxyChem was not
  asked to waive—and it never waived—the confidentiality obligations that governed that
  allocation.” Id. If that is true, OxyChem is free to pursue legal action against Batson for breaching
  that agreement in a separate proceeding.
          30
            The ADR Act prohibits a neutral’s disclosure of dispute resolution communications when
  the parties to the dispute resolution proceeding have not consented in writing, or, if the
  communication was provided by a “nonparty participant,” the nonparty participant has not
  consented in writing. See 5 U.S.C. § 574(a)(1). Likewise, parties to the dispute resolution
  proceeding cannot disclose communications unless, among other things, that communication “was
  prepared by the party seeking disclosure,” or “all parties to the dispute resolution proceeding
  consent in writing.” Id. § 574(b)(1)–(2).
          31
            Separately, the Court acknowledges an additional exception to confidentiality in the ADR
  Act: “[A] neutral in a dispute resolution proceeding shall not . . . disclose . . . any dispute resolution
  communication . . . unless . . . a court determines that such . . . disclosure is necessary to . . . prevent
  harm to the public health or safety, of sufficient magnitude in the particular case to outweigh the
  integrity of dispute resolution proceedings in general by reducing the confidence of parties in
  future cases that their communications will remain confidential.” 5 U.S.C. § 574(a)(4)(C). Even


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Case 2:22-cv-07326-MCA-LDW             Document 393         Filed 12/18/24      Page 43 of 47 PageID:
                                             17940



  No. 343-1 at 19–22. OxyChem largely rehashes unsupported allegations of bias that this Court

  has already rejected. Id. Finding, based on the record, that Batson had no colorable “official,

  financial, or personal conflict[s] of interest with respect to the [AlterEcho allocation],” 5 U.S.C. §

  573(a), this Court declines to reject the CD on this basis. And, to the extent OxyChem contends

  that Batson’s purported work as an expert witness against OxyChem exposes him to False Claims

  Act liability, OxyChem is free to pursue its theories in a separate action.

         Finally, OxyChem raises two additional arguments as to why the Court “cannot approve

  the proposed settlement,” ECF No. 343 at 2, again predicated on the Report. First, OxyChem

  claims our consideration of the Report, an alleged “settlement communication,” is barred by

  Federal Rule of Evidence 408, which prohibits the Government “from offering it in evidence to

  prove the liability of . . . OxyChem.” ECF No. 343-1 at 27 (“EPA and defendants . . . offer the

  Batson Report as evidence of OxyChem’s alleged liability and of their own alleged comparative

  fault, in hopes that the Court will rely on it to enter a judgment extinguishing OxyChem’s

  contribution claims.”). But the Court here is not ruling on OxyChem’s liability. The purpose of

  this limited, summary proceeding—in which OxyChem is merely an intervenor—is to determine

  whether the CD, not the Report, is “fair, reasonable, and consistent with CERCLA’s goals.” In re

  Tutu, 326 F.3d at 207. The CD does not constitute an admission of liability as to the Settling

  Defendants, see ECF No. 283 at 7 (“the Settling Defendants entering into this Consent Decree do

  not admit any liability to [the Government] with respect to OU2 or OU4 of the Site”), nor does it

  establish OxyChem’s liability to the Government. Indeed, it will indirectly extinguish OxyChem’s

  contribution claims against the Settling Defendants (only for the “matters addressed” therein), id.


  if OxyChem was a party to the AlterEcho allocation and could ask this Court “to preclude any
  party from relying on the [R]eport for any purpose here,” ECF No. 343-1 at 24, the Court, based
  on the nature of this proceeding and the record before it, would find the exception easily met.


                                                   43
Case 2:22-cv-07326-MCA-LDW               Document 393       Filed 12/18/24      Page 44 of 47 PageID:
                                               17941



  at 15, but it does not affix any set percentage of liability to OxyChem or prevent it from recouping

  costs from other PRPs. Likewise, the Report, which contains non-binding recommendations that

  the Government ultimately revised for settlement, merely informed this Court’s analysis of the CD

  and is not being offered against OxyChem to prove its liability, or “the validity or amount of a

  disputed claim.” Fed. R. Evid. 408(a). And there is nothing in Rule 408 preventing this Court

  from considering the Report “for another purpose.” Id. 408(b).

          OxyChem also claims the Report, in violation of Federal Rule of Evidence 801, is an “out-

  of-court statement (by Batson) that the government seeks to offer for the truth of the matter asserted

  . . . namely, the parties’ relative shares of liability for response costs.” ECF No. 343-1 at 28. For

  reasons already discussed at length, the non-binding Report is not being offered as truth of the

  parties’ liability for response costs in this proceeding. Cf. Cannons, 899 F.2d at 87 (noting that a

  CD’s terms must only be “roughly correlated with[] some acceptable measure of comparative fault,

  apportioning liability among the settling parties according to rational (if necessarily imprecise)”

  estimates of harm).

          C. The Remaining Intervenors: PVSC, Sherwin Williams, Nokia, and Pharmacia

          The remaining Intervenors’ briefing merits little discussion. PVSC, ECF No. 306, and

  Sherwin-Williams, ECF No. 339, do not oppose the CD’s entry, but have intervened in support or

  to clarify the record, respectively.

          Nokia objects to the Government’s choice to exclude it from the CD as a Tier 2 party,

  arguing that, but for some of AlterEcho’s scientific inputs, it would have landed in Tier 3, ECF No.

  307 at 18 (“[T]he United States’s exclusion of Nokia from the Proposed CD is both arbitrary and

  irrational.”), while at the same time rejecting the very foundation of the CD—the usage of



                                                   44
Case 2:22-cv-07326-MCA-LDW              Document 393         Filed 12/18/24       Page 45 of 47 PageID:
                                              17942



  AlterEcho’s Alternative Method and the Government’s adjustments to that method for settlement,

  id. at 22–28 (challenging Alternative Method’s distribution of the orphan share), id. at 28–31

  (criticizing Government’s removal of culpability and cooperation findings).                 Recall, the

  Government’s use of the Alternative Method rather than the Protocol Method and revisions to the

  allocation’s results together increased Nokia’s liability. Yeh Decl. ¶ 57. In short, it seems Nokia

  would have liked to settle with the Government, but using the calculations and methodology that

  minimized its liability in relation to the other PRPs.

          Pharmacia makes nearly identical arguments as Nokia, taking issue with certain AlterEcho

  calculations that increased its liability in comparison to other PRPs, ECF No. 308 at 9–15, and

  criticizing the Government’s utilization of AlterEcho’s Alternative Method, id. at 16–17, 19–26,

  as well as its choice to exclude the cooperation and culpability factor for settlement, id. at 26–36.

  Throughout, Pharmacia casts the results of the non-binding allocation, specifically those derived

  from the Protocol Method, as binding on the United States and participating PRPs, id. at 1 (“[T]he

  United States is not abiding by the agreements it made with parties during the allocation.”); id. at

  37 (“The agreed-upon Protocol Methodology assigned Pharmacia a share of 0.0157 percent . . . .”

  (emphasis added)), and indicates a willingness to settle with the Government utilizing that method.

          While Nokia and Pharmacia may disagree with some of AlterEcho’s and the Government’s

  choices and, understandably, desire to resolve their liability for the LPRSA as soon as possible,

  this Court finds no basis to reject the CD on these grounds. Indeed, the CD must be fair to non-

  settlors. See Kramer, 19 F. Supp. 2d at 285. But fairness does not require inclusion in the

  settlement. See, e.g., Cannons, 899 F.2d at 93 (“CERCLA . . . do[es] not require the agency to

  open all settlement offers to all PRPs . . . . [T]he right to draw fine lines, and to structure the order

  and pace of settlement negotiations to suit, is an agency prerogative.”); City of Bangor v. Citizens


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Case 2:22-cv-07326-MCA-LDW             Document 393        Filed 12/18/24      Page 46 of 47 PageID:
                                             17943



  Commc’ns. Co., 532 F.3d 70, 96 (1st Cir. 2008) (“The EPA itself, when the United States institutes

  a CERCLA action, does not need to open settlement offers to all PRPs”); United States v. Doe Run

  Res. Corp., No. 15-0663, 2017 WL 4270526, at *6 (N.D. Okla. Sept. 26, 2017) (“CERCLA does

  not require the EPA to permit all PRPs to participate in settlement negotiations, and the EPA is free

  to negotiate and settle with whomever it chooses as long as the EPA acts in good faith.”); United

  States v. Grand Rapids, Mich., 166 F. Supp. 2d 1213, 1221 (W.D. Mich. 2000) (same).

          Nor does it require adoption of a PRP’s preferred methodology; as with OxyChem’s highly

  technical challenges to the allocation and the Government’s adjustments to it, this Court “defer[s]

  to [its] expertise in weighing ambiguous and conflicting evidence of substantive fairness.” George

  A. Whiting Paper Co., 644 F.3d at 373–74. Again, the Government’s method of apportionment

  need not be “the best, or even the fairest, of all conceivable methods,” and, in light of its

  “considerable flexibility in negotiating and structuring settlements” to resolve CERCLA liability,

  the Government should be permitted “to depart from rigid adherence to formulae wherever the

  agency proffers a reasonable good-faith justification for departure.” Cannons, 899 F.2d at 88.

  Here, the Government has adequately explained both its scientific and strategic decisions,

  including its departure from certain of the allocation’s recommendations, which were never

  binding on the Government and only intended to be used as a “factor” in future settlements. See

  ECF No. 289-2 at 69 (“[N]either the EPA nor the Allocation Parties are bound by the results of the

  Allocation . . . .”).

          While Nokia and Pharmacia may not have been included in this round of the Government’s

  multi-phased settlement process, the Government included Nokia and Pharmacia in the allocation

  process, see, e.g., ECF No. 289-1, has had discussions with the companies as Tier 2 parties, ECF

  Nos. 334-1, 334-2, and “plans to negotiate with them in the future,” ECF No. 334 at 2. The record


                                                   46
Case 2:22-cv-07326-MCA-LDW            Document 393       Filed 12/18/24      Page 47 of 47 PageID:
                                            17944



  indicates the CD is fair, reasonable, and in alignment with CERCLA’s goals, and this Court will

  not otherwise interfere with the Government’s authority to draw the difficult but well-considered

  “fine lines” between PRPs in furtherance of cleanup. Cannons, 899 F.2d at 93.

         III.      Conclusion

         As OxyChem acknowledges in its opposition briefing, “[p]ollution of the Passaic River

  dates back to the industrial revolution.” ECF No. 309 at 4. EPA, for its part, has been working to

  clean up the LPRSA for four decades. Fish and wildlife, the environment, and the citizens of this

  State have suffered long enough because of corporations’ self-interested and deplorable waste

  disposal practices. This CD constitutes an important next step in holding these companies

  accountable for their acts and will further cleanup of the LPRSA. The Court enters it without

  further delay.




                                                        s/ Madeline Cox Arleo ___
 Date: December 18, 2024                                Hon. Madeline Cox Arleo
                                                        UNITED STATES DISTRICT JUDGE




                                                 47
